Case 6:22-cv-00566-RRS-CBW Document 188 Filed 11/23/22 Page 1 of 1 PageID #: 2758




                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                      LAFAYETTE DIVISION

  IN THE MATTER OF BULLY 1                         §       CIVIL ACTION NO. 22-566
  (SWITZERLAND) GMBH, AS                           §
  OWNER, AND NOBLE DRILLING                        §       JUDGE ROBERT R. SUMMERHAYS
  (U.S.) LLC, AS OWNER PRO HAC                     §
  VICE, OF THE GLOBETROTTER II                     §       MAGISTRATE JUDGE CAROL B.
                                                   §       WHITEHURST

   ORDER ON RESPONDENT/CLAIMANT, CHRISTIAN P. BOUTIN’S, MOTION FOR LEAVE
      TO FILE AMENDED ANSWER AND CLAIM WITH THIRD-PARTY COMPLAINT

         After considering Respondent/Claimant, CHRISTIAN P. BOUTIN’s, Motion for Leave to

  File an Amended Answer and Claim with Third-Party Complaint against Shell Oil Co and Shell

  USA Inc., and the response, if any, the Court:

         Grants the Motion.

         IT IS HEREBY ORDERED that Respondent/Claimant is given leave to file an amended

  Answer and Claim with a Third-Party Complaint against Shell USA, Inc. and Shell Offshore Inc.

  Respondent/Claimant’s proposed First Amended Answer and Claim with Third-Party Complaint

  (attached as Exhibit ‘A’ to Respondent/Claimant’s Motion) shall be filed into the record.
                          23rd             November
         SIGNED this              day of                , 2022.




                                                              UNITED STATES DISTRICT JUDGE
                                                              XXXXXXXXXXXXXXXXXXXXXX
                                                              UNITED STATES MAGISTRATE JUDGE




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